IN THE UNITED STATES DISTRICT COURT vO,
FOR THE EASTERN DISTRICT OF OKLAHOMA HL
Wr F 2 8 2024
UNITED STATES OF AMERICA, a, tie
Ym. Tk TES

v. Case No. CR? 1 -314 RAV

BRENDA BURDUE SAVAGE,

Plaintiff, SEALED

Defendant.

 

 

INDICTMENT
The Federal Grand Jury charges:
COUNT ONE

SECOND DEGREE MURDER IN INDIAN COUNTRY
[18 U.S.C. §§ 1111(a), 1151, & 1152]

On or about January 30, 2019, within the Eastern District of Oklahoma, in Indian Country,
the defendant, BRENDA BURDUE SAVAGE, with malice aforethought, did unlawfully kill Bart

Jameson, an Indian, in violation of Title 18, United States Code, Sections 1111(a), 1151, and 1152.

COUNT TWO
USE, CARRY, BRANDISH, AND DISCHARGE OF A FIREARM DURING
AND IN RELATION TO A CRIME OF VIOLENCE
[18 U.S.C. § 924(c)(1)(A)]
On or about January 30, 2019, within the Eastern District of Oklahoma, the defendant,

BRENDA BURDUE SAVAGE, did knowingly use, carry, brandish, and discharge a firearm,

during and in relation to a crime of violence for which she may be prosecuted in a court of the
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United States, to wit: Murder in Indian Country, as alleged in Count One of this Indictment, in

violation of Title 18, United States Code, Section 924(c)(1)(A).

COUNT THREE

CAUSING THE DEATH OF A PERSON IN THE COURSE OF A VIOLATION OF
TITLE 18 U.S.C. § 924(c)
[18 U.S.C. § 924()()]

On or about January 30, 2019, within the Eastern District of Oklahoma, the defendant,
BRENDA BURDUE SAVAGE, did knowingly use, carry, brandish, and discharge a firearm,
during and in relation to a crime of violence for which she may be prosecuted in a court of the
United States, to wit: Murder in Indian Country, as alleged in Count One of this Indictment, and
in the course of this violation caused the death of a person through the use of a firearm, which
killing is a murder, as defined in Title 18 United States Code § 1111, in that the defendant,
BRENDA BURDUE SAVAGE, did murder and unlawfully kill Burt Jameson with a firearm, in
violation of Title 18, United States Code, Section 924(j)(1).

FORFEITURE ALLEGATION
[18 U.S.C. § 924(d) & 28 U.S.C. § 2461(c)]

The allegations contained in Count Two of this Indictment are hereby re-alleged and
incorporated by reference for the purpose of alleging forfeiture pursuant to Title 18, United States
Code, Section 924(d) and Title 28, United States Code, Section 2461(c).

Upon conviction of the violations alleged in Count Two of this Indictment involving

violations of Title 18, United States Code, Sections 924(c) the defendant, BRENDA BURDUE
SAVAGE, shall forfeit to the United States pursuant to Title 18, United States Code, Section

924(d) and Title 28, United States Code, Section 2461(c), all firearms, ammunition, magazines,

and firearm accessories involved in the commission of the offenses, including, but not limited to:
e One (1) Beretta APX pistol, serial number A016951X

CHRISTOPHER J. WILSON
Acting United States Attorney

 

aT WA . DC Bar # 1013801

TRIAL ATTORNEY, ORGANIZED CRIME
AND GANG SECTION
U.S. DEPARTMENT OF JUSTICE

A TRUE BILL:

Pursuant to the E-Government Act,
the criginal indictment has been filed
under seal in the Clerk’s Office.

s / Foreperson
FOREPERSON OF T

HE GRAND JURY
